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10

11                         UNITED STATES DISTRICT COURT
12          CENTRAL DISTRICT OF CALIFORNIA – SOUTHERN DIVISION
13

14     JOHN ROE 1, an individual; JANE         Case No. 8:22-CV-00983
15
       ROE 1, an individual; JANE ROE 2
       an individual; JANE ROE 3, an           NOTICE OF REMOVAL OF CLASS
16
       individual, JOHN ROE 2, on behalf       ACTION COMPLAINT TO
       of themselves and all others            FEDERAL COURT
17
       similarly situated,
                                               [28 U.S.C. §§ 1331, 1367, 1441, 1446]
18
                      Plaintiffs,
                                               (Orange County Superior Court
19
             v.                                Case No. 30-2022-01250695-CU-AT-
                                               CXC)
20
       THE STATE BAR OF
       CALIFORNIA; TYLER
21
       TECHNOLOGIES, INC.; KEVAN               Complaint Filed: March 18, 2022
       SCHWITZER; RICK RANKIN;                 Trial Date:      TBD
22
       and DOES 4 through 10, inclusive,

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                      Defendants.

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         NOTICE OF REMOVAL OF CLASS ACTION COMPLAINT TO FEDERAL COURT
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 1     TO THE COURT, ALL PARTIES, AND THEIR ATTORNEYS
 2              PLEASE TAKE NOTICE that Defendant Tyler Technologies, Inc. (“Tyler”),
 3     with the consent and agreement of all other Defendants, hereby removes the above-
 4     captioned action from the Superior Court of the State of California for the County of
 5     Orange, where the action is now pending, to the United States District Court for the
 6     Central District of California. This civil action is removed on the basis of federal
 7     question jurisdiction and supplemental jurisdiction under 28 U.S.C. §§ 1331, 1367,
 8     1441, and 1446.
 9                                 PROCEDURAL HISTORY
10              1.   On March 18, 2022, Plaintiffs John Roe 1, Jane Roe 1, Jane Roe 2, and
11     Jane Roe 3 commenced a civil action in the Superior Court of the State of California
12     for the County of Orange, entitled Roe v. The State Bar of California, Case No. 30-
13     2022-01250695-CU-AT-CXC, by filing a complaint. All process, pleadings, and
14     orders served upon defendants are attached hereto. A true and correct copy of the
15     original complaint is attached hereto as Exhibit A.
16              2.   As originally filed, the complaint named as defendants the State Bar,
17     JudyRecords.com, an Employee Doe, and Does 1 through 10. See Ex. A at ¶¶5-9.
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             NOTICE OF REMOVAL OF CLASS ACTION COMPLAINT TO FEDERAL COURT
     Case 8:22-cv-00983-DFM      Document 1    Filed 05/13/22   Page 3 of 6 Page ID #:3



 1           3.     As originally filed, the complaint, which is styled as a class action,
 2     alleged seven causes of action: (1) violation of the California Information Practices
 3     Act of 1977 against Defendant The State Bar of California (the “State Bar”); (2)
 4     invasion of privacy under article one, section one of the California Constitution
 5     against all Defendants; (3) invasion of privacy under section 1798.53 of the
 6     California Civil Code against Defendant JudyRecords.com and Does 1 to 2; (4)
 7     violation of Plaintiffs’ rights to informational privacy and equal protection under 42
 8     U.S.C. § 1983 against Defendant Employee Doe and Does 3 to 10; (5) violation of
 9     Plaintiffs’ rights to informational privacy under 42 U.S.C. § 1983 against
10     Defendants State Bar and Does 3 to 10; (6) violation of section two of the Sherman
11     Antitrust Act against Defendants State Bar, JudyRecords.com and Does 5 to 10; and
12     (7) violation of section three of the Sherman Antitrust Act against Defendants State
13     Bar, JudyRecords.com and Does 5 to 10.
14           4.     On March 24, 2022, Plaintiffs amended their complaint to substitute an
15     incorrectly named defendant, JudyRecords.com, with the true name of the party,
16     Kevan Schwitzer.       A true and correct copy of the notice that effectuated that
17     amendment, filed with the Superior Court pursuant to section 473 of the California
18     Code of Civil Procedure, is attached hereto as Exhibit B.
19           5.     On March 24, 2022, Plaintiffs served the State Bar with a summons and
20     the complaint. Plaintiffs filed a proof of service on March 28, 2022. A true and
21     correct copy of that proof of service is attached hereto as Exhibit C.
22           6.     On March 24, 2022, Plaintiffs also purported to serve the Employee
23     Doe by emailing the State Bar a summons and the complaint. Plaintiffs filed a proof
24     of service of Employee Doe on March 28, 2022, indicating Plaintiffs’ apparent belief
25     that emailing the State Bar properly effectuated service on the fictitious defendant
26     Employee Doe.      Defendants disagree that Plaintiffs properly served any such
27     fictitious individual. A true and correct copy of that proof of service is attached
28     hereto as Exhibit D.
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         NOTICE OF REMOVAL OF CLASS ACTION COMPLAINT TO FEDERAL COURT
     Case 8:22-cv-00983-DFM     Document 1     Filed 05/13/22   Page 4 of 6 Page ID #:4



 1           7.     On March 25, 2022, Plaintiffs amended their complaint to substitute the
 2     fictitiously named defendant, Doe 1, with the true name of the party, Tyler. A true
 3     and correct copy of the notice that effectuated that amendment, filed with the
 4     Superior Court pursuant to section 474 of the California Code of Civil Procedure, is
 5     attached hereto as Exhibit E.
 6           8.     On March 28, 2022, Plaintiffs served Tyler with a summons and the
 7     complaint. Plaintiffs filed a proof of service on March 29, 2022. A true and correct
 8     copy of that proof of service is attached hereto as Exhibit F.
 9           9.     On March 29, 2022, Plaintiffs served Schwitzer with a summons and
10     the complaint. Plaintiffs filed a proof of service on April 1, 2022. A true and
11     correct copy of that proof of service is attached hereto as Exhibit G.
12           10.    On April 13, 2022, Plaintiffs filed an amended complaint they styled as
13     the First Amended Class Action Complaint (“FAC”). Among other changes, the
14     FAC: (1) added an additional anonymous plaintiff, John Roe 2; (2) substituted a
15     fictitiously named defendant, the Employee Doe, with the true name of an
16     individual, Rick Rankin; (3) eliminated two causes of action alleging violations of
17     Plaintiffs’ rights to informational privacy and equal protection under 42 U.S.C.
18     § 1983; (4) added Tyler to the list of Defendants against whom the Sherman
19     Antitrust Act claims were asserted; (5) added causes of action for common-law
20     negligence and negligence per se; and (6) altered various other allegations. A true
21     and correct copy of the FAC is attached hereto as Exhibit H.
22           11.    On April 30, 2022, Plaintiffs served Rankin with a summons and the
23     FAC via email to Rankin’s attorney, along with a Notice and Acknowledgment of
24     Receipt form.    Counsel for Rankin signed the Notice and Acknowledgment of
25     Receipt and returned it via email on May 3, 2022. A true and correct copy of that
26     Notice and Acknowledgment of Receipt is attached hereto as Exhibit I.
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         NOTICE OF REMOVAL OF CLASS ACTION COMPLAINT TO FEDERAL COURT
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 1            12.     Undersigned counsel asserts, pursuant to Rule 11 of the Federal Rules
 2     of Civil Procedure, that all named Defendants who have been properly joined and
 3     served consent to this removal, as required by 28 U.S.C. § 1446(b)(2)(a). See also
 4     Proctor v. Vishay Intertech., Inc., 584 F.3d 1208, 1225 (9th Cir. 2009).
 5                                TIMELINESS OF REMOVAL
 6            13.     This notice of removal is timely because it is filed within thirty (30)
 7     days from April 13, 2022, the date Tyler obtained a copy of the FAC, which
 8     purported to assert, for the first time, claims against Tyler under the Sherman
 9     Antitrust Act. See § 28 U.S.C. 1446(b)(1).
10                            SUBJECT MATTER JURISDICTION
11            14.     This Court has subject matter jurisdiction over all claims asserted in
12     this action.
13            15.     A district court shall have original federal question jurisdiction over
14     “all civil actions arising under the Constitutions, laws, or treaties of the United
15     States.” 28 U.S.C. § 1331. District courts also have supplemental jurisdiction over
16     all other claims that form part of “the same case or controversy” as civil actions in
17     which the courts have original jurisdiction. 28 U.S.C. § 1367.
18            16.     Here, Plaintiffs assert two causes of action “arising under” the Sherman
19     Antitrust Act, a federal statute.     28 U.S.C. § 1331; see Ex. H at ¶¶ 81–111.
20     Accordingly, this Court has federal question jurisdiction over Plaintiffs’ two
21     antitrust claims. Id. This Court also has supplemental jurisdiction over Plaintiffs’
22     remaining causes of action because they form part of the same “case or controversy”
23     as Plaintiffs’ federal claims. 28 U.S.C. § 1367; see Ex. H at ¶¶ 50–80; 112–29.
24                                             VENUE
25            17.     Removal to this judicial district and division is proper under 28 U.S.C.
26     §§ 1441(a) and 1446(a) because the state-court action was originally pending in this
27     judicial district; namely, the Superior Court of the State of California for the County
28     of Orange. See 28 U.S.C. § 84(c).
                                       4
         NOTICE OF REMOVAL OF CLASS ACTION COMPLAINT TO FEDERAL COURT
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 1                     NOTICE TO STATE COURT AND PLAINTIFFS
 2           18.    Promptly after filing this notice of removal with this Court, Defendants
 3     will serve the notice on Plaintiffs and file a copy of the notice with the Clerk of the
 4     Orange County Superior Court, as required under 28 U.S.C. §1446(d).
 5                                       CONCLUSION
 6           19.    Based on the foregoing, Tyler, with the express consent and agreement
 7     of all Defendants, removes the civil action filed in the Superior Court of the State of
 8     California for the County of Orange, to the United States District Court for the
 9     Central District of California.
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                                                   K&L GATES LLP
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       Dated: May 13, 2022                    By: /s/ Jason N. Haycock
14                                                 BETH W. PETRONIO
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                                                   JASON N. HAYCOCK

16                                                  Attorneys for Defendant
                                                    TYLER TECHNOLOGIES, INC.
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         NOTICE OF REMOVAL OF CLASS ACTION COMPLAINT TO FEDERAL COURT
